            Case 2:14-cv-01178-MJP Document 993 Filed 06/09/23 Page 1 of 6




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 7
                                                          The Honorable MARSHA J. PECHMAN
 8
                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     A.B., by and through her next friend                NO. 2:14-cv-1178 MJP
11   CASSIE CORDELL TRUEBLOOD, et al.,
                                                         DEFENDANT’S EXHIBIT LIST RE:
12                             Plaintiffs,               EVIDENTIARY HEARING
                                                         BEGINNING JUNE 12, 2023
13          v.
14   WASHINGTON STATE DEPARTMENT
     OF SOCIAL AND HEALTH SERVICES,
15   et al.,
16                             Defendants.
17
            Defendant Washington State Department of Social and Health Services hereby submits
18
     the following list of exhibits to be used at the Evidentiary Hearing beginning June 12, 2023.
19
                                             Admissibility      Authenticity       Authenticity &
20    No.   Description                      Stipulated         Stipulated /       Admissibility
21                                                              Admissibility      Disputed
                                                                Disputed
22
            State Hospital and RTF
23    101   Average Daily Census – June X
            2023 – Exhibit A to Updated
24
            Stipulation
25

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      DEFENDANT’S EXHIBIT LIST RE:                  1              ATTORNEY GENERAL OF WASHINGTON
                                                                          7141 Cleanwater Dr SW
      FORTHCOMING EVIDENTIARY                                                 PO Box 40124
      HEARING                                                            Olympia, WA 98504-0124
      NO. 2:14-cv-1178 MJP                                                    (360) 586-6565
           Case 2:14-cv-01178-MJP Document 993 Filed 06/09/23 Page 2 of 6




 1                                        Admissibility   Authenticity      Authenticity &
     No.   Description                    Stipulated      Stipulated /      Admissibility
 2
                                                          Admissibility     Disputed
 3                                                        Disputed

 4         Forecasts of Forensic and
     102   Civil Bed Need for WSH         X
 5         and ESH – June 2023 -
           Exhibit B to Updated
 6
           Stipulation
 7
           BHA Historical Funded
     103   Beds – June, 3 2022 -          X
 8
           Exhibit C to Updated
 9         Stipulation
10         Competency Evaluation
     104   Clients – 2018 to 2022 –       X
11
           Exhibit D to Updated
12         Stipulation

13         HCA Data Regarding Beds –
     105   Exhibit E to Updated      X
14         Stipulation
15         Competency Outcome
     106   Determinations – January       X
16
           2023 – Exhibit F to Updated
17         Stipulation

18         Contempt Hearings,
     107   Outcomes, and Fines –          X
19         Exhibit G to Updated
20         Stipulation

21         Most Serious Charge
     108   Waitlist – January 5, 2023 –   X
22         Exhibit H to Updated
           Stipulation
23
           Phase 1 Implementation Plan
24   109                               X
           – Docket #945-1
25

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     DEFENDANT’S EXHIBIT LIST RE:               2           ATTORNEY GENERAL OF WASHINGTON
                                                                   7141 Cleanwater Dr SW
     FORTHCOMING EVIDENTIARY                                           PO Box 40124
     HEARING                                                      Olympia, WA 98504-0124
     NO. 2:14-cv-1178 MJP                                              (360) 586-6565
           Case 2:14-cv-01178-MJP Document 993 Filed 06/09/23 Page 3 of 6




 1                                       Admissibility   Authenticity      Authenticity &
     No.   Description                   Stipulated      Stipulated /      Admissibility
 2
                                                         Admissibility     Disputed
 3                                                       Disputed

 4         Phase 2 Implementation Plan
     110   – Docket #945-2             X
 5
           BHA Pro 10.01 Algorithm
 6   111   Work Instructions for Adult
 7         Forensic Admissions – April
           26, 2021
 8
           Dismissal Priority Review –
 9   112   March 2023
10         Felony Conversion (“Felony
     113   Flip”) Process Flow Chart
11

12         Monthly Report to Court
     114   Monitor – May 2023
13
           Phase 3 Preliminary
14   115   Implementation Plan –
           Docket #990-1 at 25-63
15
           Recent DSHS BHA
16   116   Investments and Initiatives
17         to Address Staffing

18         Agreed Proposal as to
     117   Implementation of Phase
19         Three – Docket #942-1
20         BHA Bed Capacity
     118   Strategies
21

22         Outpatient Competency
     119   Restoration Program –
23         Appendix B – 2022 Q4
24

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     DEFENDANT’S EXHIBIT LIST RE:              3           ATTORNEY GENERAL OF WASHINGTON
                                                                  7141 Cleanwater Dr SW
     FORTHCOMING EVIDENTIARY                                          PO Box 40124
     HEARING                                                     Olympia, WA 98504-0124
     NO. 2:14-cv-1178 MJP                                             (360) 586-6565
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 1         Forensic Housing and
     120   Recovery Through Peer
 2
           Services – Appendix E –
 3         2022 Q4

 4         Forensics Projects for
     121   Assistance in Transition
 5         from Homelessness –
           Appendix F – 2022 Q4
 6

 7         Keri Waterland Resume
     122   February 2023
 8
           Behavioral Health
 9   123   Highlighted Investments
           Since FY 2019 – Docket
10         #946-1
11
           New Long Term Civil
     124   Commitment Investments
12
           Since FY 19 – Docket # 946-
13         2

14         Investments in Community
     125   Based Facilities Since FY 19
15         – Docket # 946-3
16
           Investments in Community
     126   Support & Treatment Since
17
           FY 19 – Docket # 946-4
18
           Investments in Housing
19   127   Support Services Since FY
           19 – Docket # 946-5
20

21         Spokane Regional
     128   Stabilization Center Report -
22         2022

23         Stipulation Regarding
     129   Evidence Hearing – Docket
24         # 992
25

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     DEFENDANT’S EXHIBIT LIST RE:          4         ATTORNEY GENERAL OF WASHINGTON
                                                            7141 Cleanwater Dr SW
     FORTHCOMING EVIDENTIARY                                    PO Box 40124
     HEARING                                               Olympia, WA 98504-0124
     NO. 2:14-cv-1178 MJP                                       (360) 586-6565
           Case 2:14-cv-01178-MJP Document 993 Filed 06/09/23 Page 5 of 6




 1         Dr. George Petzinger
     130   Resume
 2

 3
           RESPECTFULLY SUBMITTED this 9th day of June, 2023.
 4

 5                                       s/ Marko L. Pavela
                                         NICHOLAS A. WILLIAMSON, WSBA No. 44470
 6                                       MARKO L. PAVELA, WSBA No. 49160
                                         ANTHONY W. VAUPEL, WSBA No. 47848
 7                                       Assistant Attorneys General
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 9                                       7141 Cleanwater Drive SW - P.O. Box 40124
                                         Olympia, WA 98504-0124
10                                       (360) 586-6565
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11                                       Marko.Pavela@atg.wa.gov
                                         Anthony.Vaupel@atg.wa.gov
12
                                         Attorneys for Defendants
13

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     DEFENDANT’S EXHIBIT LIST RE:          5            ATTORNEY GENERAL OF WASHINGTON
                                                               7141 Cleanwater Dr SW
     FORTHCOMING EVIDENTIARY                                       PO Box 40124
     HEARING                                                  Olympia, WA 98504-0124
     NO. 2:14-cv-1178 MJP                                          (360) 586-6565
            Case 2:14-cv-01178-MJP Document 993 Filed 06/09/23 Page 6 of 6




 1                                    CERTIFICATE OF SERVICE
 2          I, Christine Townsend, state and declare as follows:

 3          I am a citizen of the United States of America and over the age of 18 years and I am

 4   competent to testify to the matters set forth herein. I hereby certify that on this 9th day of June

 5   2023, I electronically filed the foregoing document with the Clerk of the Court using the

 6   CM/ECF system, which will send notification of such filing to the following:

 7          David Carlson: davidc@dr-wa.org

 8          Kimberly Mosolf: kimberlym@dr-wa.org

 9          Elizabeth Leonard: bethl@dr-wa.org

10          Christopher Carney: Christopher.Carney@CGILaw.com

11          Sean Gillespie: Sean.Gillespie@CGILaw.com

12          David JW Hackett: david.hackett@kingcounty.gov

13          I certify under penalty of perjury under the laws of the state of Washington that the

14   foregoing is true and correct.

15          Dated this 9th day of June 2023, at McCleary, Washington.

16

17
                                                   CHRISTINE TOWNSEND
18                                                 Legal Assistant
19

20

21

22

23

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      DEFENDANT’S EXHIBIT LIST RE:                   6              ATTORNEY GENERAL OF WASHINGTON
                                                                           7141 Cleanwater Dr SW
      FORTHCOMING EVIDENTIARY                                                  PO Box 40124
      HEARING                                                             Olympia, WA 98504-0124
      NO. 2:14-cv-1178 MJP                                                     (360) 586-6565
